Exhibit “C”
Exhibit A
       Ûºº»½¬·ª» íñéñîðïí




Ex A
            ÐßÇÓÛÒÌ ÝØßÎÌ
 ß½½±«²¬ Þ¿´¿²½»          Ó·²·³«³ ÐÓÌ ü
 Ú®±³             Ì±
                 üëòçè        ïððû
  üëòçç          üììòçç         üëòçç
  üìëòðð         üêçòçç         üêòçç
  üéðòðð         üççòçç         üéòçç
 üïððòðð       üïîìòçç          üçòçç
 üïîëòðð       üïççòçç         üïíòçç
 üîððòðð       üîìçòçç         üïêòçç
 üîëðòðð       üîççòçç         üïçòçç
 üíððòðð       üíìçòçç         üîîòçç
 üíëðòðð       üììçòçç         üîèòçç
 üìëðòðð       üëìçòçç         üííòçç
 üëëðòðð       üéççòçç         üìêòçç
 üèððòðð      üïôðççòçç        üëçòçç
üïôïððòðð     üïôíççòçç        üêçòçç
üïôìððòðð                        ëû




                                          Ex A
Exhibit B
       Ûºº»½¬·ª» ïñïíñîðïê




Ex B
